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                                                                 Exhibit 1


                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                        CHARLESTON DIVISION

                                       MDL No. 2327
           In Re Ethicon Inc., Pelvic Repair System Products Liability Litigation
______________________________________________________________________________

In completing this Plaintiff Profile Form, you are under oath and must provide information that is
true and correct to the best of your knowledge. The Plaintiff Profile Form shall be completed in
accordance with the requirements and guidelines set forth in the applicable Case Management
Order.

                                         I. CASE INFORMATION

Caption: _______________________________________ Date: ________________________
Docket No.: ___________________________________________________________________
Plaintiff’s attorney and Contact information:
______________________________________________________
______________________________________________________
______________________________________________________
______________________________________________________


                                    II. PLAINTIFF INFORMATION

Name: _________________________________________________________________

Spouse: ___________________________________Loss of Consortium?                               □Yes □ No
Address: _______________________________________________________________
Date of birth: ___________________________________________________________
Social Security No.: ______________________________________________________
                                      III. DEVICE INFORMATION1

Date of implant: _________________________________________________________
Reason for Implantation: __________________________________________________
Brand Name: _____________________________________ Mfg. _________________

1
  Note: In lieu of device information, operating records may be submitted as long as all requested information is
legible on the face of the record.

                                                                                           Please Initial ______
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Lot Number: ___________________________________________________________
Implanting Surgeon: _____________________________________________________
Medical Facility: ________________________________________________________
________________________________________________________________________
Date of implant: _________________________________________________________
Reason for Implantation: __________________________________________________
Brand Name: _____________________________________ Mfg. _________________
Implanting Surgeon: _____________________________________________________
Medical Facility: ________________________________________________________

                  • Attach medical evidence of product identification.

              IV. REMOVAL/REVISION SURGERY INFORMATION

Date of surgery(s): _______________________________________________________
Type of surgery(s): _______________________________________________________
Explanting surgeon: ______________________________________________________
Medical Facility: ________________________________________________________
Reason for Explant: ______________________________________________________
________________________________________________________________________

Date of surgery(s): _______________________________________________________
Type of surgery(s): _______________________________________________________
Explanting surgeon: ______________________________________________________
Medical Facility: ________________________________________________________
Reason for Explant: ______________________________________________________
                     V. OUTCOME ATTRIBUTED TO DEVICE



□ Pain                                   □ Fistulae
□ Erosion                                □ Recurrence
□ Extrusion                              □ Bleeding
□ Infection                              □ Dyspareunia
□ Urinary Problems                       □ Neuromuscular problems
□ Bowel Problems                         □ Vaginal Scarring
                                           2                             Please Initial ______
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□ Organ Perforation                        □ Other
                                   VI. PAST HISTORY

Number of Pregnancies: _____       Number of Live Births: ______
Date of Hysterectomy(ies) and Name of Hospital Where Performed: ___________________
Prior to the First Implant, Have You Ever Had:
_____         Lupus
_____         Diabetes
_____         Auto Immune Disorder
_____         Endometriosis
_____         Pelvic Pain Syndrome or Disorder
_____         Fibroids
_____         Adhesive Disease

Are you claiming damages for lost wages: [ ] Yes       [ ] No
If so, for what time period: _______________
Have you ever filed for bankruptcy: [ ] Yes [ ] No
If so, when? ____________________________

Do you have a computer: [ ] Yes [ ] No

If so, are you a member of Facebook, LinkedIn or other social media websites:
[ ] Yes [ ] No

Which ones: _____________________________

   VII. LIST OF ALL TREATING PHYSICIANS FOR THE PERIOD OF 10 YEARS
    PRIOR TO THE FIRST MESH IMPLANT, INCLUDING ALL PRIMARY CARE
         PHYSICIANS, OB-GYNS, UROLOGISTS, ENDOCRINOLOGISTS,
   RHEUMATOLOGISTS, PSYCHIATRISTS, PSYCHOLOGISTS, OR ANY OTHER
                              SPECIALISTS

Primary Care Physicians:

Name: ______________________________________________________________________

Address: ____________________________________________________________________

Approximate Period of Treatment: ______________________________________________



                                               3                     Please Initial ______
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Name: ______________________________________________________________________

Address: ____________________________________________________________________

Approximate Period of Treatment: ______________________________________________

OB-GYNs:

Name: ______________________________________________________________________

Address: ____________________________________________________________________

Approximate Period of Treatment: ______________________________________________


Name: ______________________________________________________________________

Address: ____________________________________________________________________

Approximate Period of Treatment: ______________________________________________

Urologists:

Name: ______________________________________________________________________

Address: ____________________________________________________________________

Approximate Period of Treatment: ______________________________________________

Name: ______________________________________________________________________

Address: ____________________________________________________________________

Approximate Period of Treatment: ______________________________________________

Psychiatrists/Psychologists (Answer only if making a claim for emotional/psychological
Injury beyond usual pain and suffering):

Name: ______________________________________________________________________

Address: ____________________________________________________________________

Approximate Period of Treatment: ______________________________________________




                                            4                         Please Initial ______
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Name: ______________________________________________________________________

Address: ____________________________________________________________________

Approximate Period of Treatment: ______________________________________________

Attach additional pages as needed to identify other health care providers you have seen.

                                     AUTHORIZATIONS

Provide ONE (1) SIGNED ORIGINAL copy of each of the records authorization forms attached
as Ex. A. These authorization forms will authorize the records vendor selected by the parties to
obtain those records identified in the authorizations from the providers identified within this
Plaintiff Profile Form.


                                        VERIFICATION

I, __________________________, declare under penalty of perjury subject to all applicable

laws, that I have carefully reviewed the final copy of this Plaintiff Profile Form dated _________

and verified that all of the information provided is true and correct to the best of my knowledge,

information and belief.

                                                     _____________________________
                                                     Signature of Plaintiff

Sworn and subscribed before me
This ___ day of ___________, 201


___________________________
Notary Public




                                                 5                           Please Initial ______
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                                                              Exhibit A
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